                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,
             v.                                               Case No. 07-CR-57

THOMAS BALSIGER, et al.,

                    Defendants.


  DECISION AND ORDER OVERRULING DEFENDANTS THOMAS BALSIGER’S
AND JAMES CURREY’S OBJECTIONS TO THE MAGISTRATE JUDGE’S DECISION
               AND ORDER OF JUNE 5, 2010 (DOC. # 408)

             On June 5, 2010, Magistrate Judge Patricia Gorence issued a Decision and

Order addressing defendants Thomas Balsiger’s and James Currey’s (“the defendants”)

argument that International Outsourcing Services, LLC (IOS) was coerced into waiving its

attorney-client and work product privileges in exchange for dismissal of the indictment

against IOS. Timely objections to Judge Gorence’s Decision and Order were filed and they

are now before the court for a decision.

             Additionally, the defendants request an evidentiary hearing “to determine the

impact of the United States Department of Justice’s Thompson Memorandum and the

government’s conduct in the instant case on IOS’s decision to waive its attorney-client and

work product privileges.” (Doc. # 411 at 11.) The government opposes the request.

                      I. REQUEST FOR EVIDENTIARY HEARING

             The docket does not disclose that the defendants requested an evidentiary

hearing before Judge Gorence as to whether IOS was coerced into waiving its attorney-

client privilege. Thus, as the government points out, it appears that the defendants made

no effort to comply with the local rules regarding requests for evidentiary hearings.



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Criminal Local Rule 12(c) provides that any request for an evidentiary hearing must follow

“a conference with the non-movant” and “provide a description of the material disputed

facts that the movant claims require an evidentiary hearing.” It also obligates the movant

to “provide an estimate of the in-court time necessary for the hearing.”

                 The government has written to the court respecting the defendants’ failure

to comply with Rule 12(c). In response, the defendants boldly assert that “the material

disputed facts in this case are well known to the parties and to the court” and “[a]s such,

Criminal Local Rule 12.3(c) has been satisfied.”1 (Doc. # 413 at 1.)                      According to the

defendants, “[t]his is not an initial motion wherein the Court needs to be advised that the

parties have met and tried to resolve the issues, or at least narrow them, prior to imposing

on the Court’s valuable time.” (Id.)

                 The court appreciates the defendants’ determination of which Local Rules are

advisory. Regardless, the request for an evidentiary hearing will be denied.

                 According to the defendants, “the evidence submitted by defendants

overwhelmingly supports the conclusion that the government coerced IOS into waiving its

attorney-client and work product privileges.” (Obj. 11.) Moreover, they contend that

“Magistrate Judge Gorence’s Decision and Order either discounts, ignores, or misconstrues

every piece of evidence submitted by defendants Balsiger and Currey in support of their

claim.” (Id.) Yet they do not identify any additional evidence they wish to introduce, or

name any witnesses they wish to call at an evidentiary hearing. Consequently, it appears

that the defendants simply disagree with Judge Gorence’s review of the “overwhelming


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            The defendants are advised the there is no Crim inal Local Rule 12.3(c), which they repeatedly cite
to in their reply to the governm ent’s letter of June 23, 2010. (See Doc. # 413.)

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evidence.” Without more, there is no basis in the record for granting the defendants’

request.

                               II. STANDARD OF REVIEW

              A magistrate judge may decide nondispositive motions, although a party may

object, i.e., appeal, the magistrate judge’s order. Fed. R. Crim. P. 59(a). The court may

set aside the magistrate judge's determination, or any portion of it, if an objecting party

shows that the order is contrary to law or clearly erroneous. Id. The clear error standard

means that the court can overturn the magistrate judge's ruling only if it is "left with the

definite and firm conviction that a mistake has been made." Weeks v. Samsung Heavy

Indus. Co., 126 F.3d 926, 943 (7th Cir. 1997).

              In their objections to Judge Gorence’s order, the defendants acknowledge

the applicability of the clearly erroneous standard in this court’s review of Judge Gorence’s

conclusion that IOS was not coerced into waiving its privileges. (See Doc. # 411 at 1, 3,

5, 11, 16-17.) The government concurred in its response. (See Doc. # 414 at 2.)

However, in their reply brief the defendants assert that “the government cites the incorrect

standard of review,” and that this court should consider their objections de novo. (Doc. #

415 at 1.) Yet, the defendants offer no authority for this contention, and provide no

justification for this midstream change. Consequently, the court finds that the defendants

have waived consideration of any argument regarding the applicable standard of review.

See Damato v. Sullivan, 945 F.2d 982, 988 n.5 (7th Cir. 1991) (“‘[A]rguments raised for

the first time in a reply brief are waived.’” (quoting Ippolito v. WNS, Inc., 864 F.2d 440, 455

n.12 (7th Cir. 1988)).



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                                              III. ANALYSIS2

                 The defendants contend that “the government coerced IOS into waiving its

attorney-client and work product privilege protections through its application of the definition

of ‘cooperation’ contained in the Department of Justice’s ‘Principles of Federal Prosecution

of Business Organizations’ dated January 20, 2003 (now commonly referred to as the

‘Thompson Memorandum’).” (Obj. 1.) According to the defendants, “IOS would never

have waived attorney-client and work product privilege protections but for the definition of

cooperation contained in the Thompson Memorandum, the threats inherit [sic] in the

Thompson Memorandum, the governments [sic] enforcement of the Thompson

Memorandum, and the governments [sic] repeated requests for waiver of attorney-client

privilege and work product privilege protections.” (Obj. 10.) Consequently, the defendants

demand that the government be “barred from accessing any of the communications or

documents found in the files, on the computers, or elsewhere in the records” of three law

firms associated with IOS, as well as all “fruits of the poisonous tree.” (Obj. 2-3.)

                 In response, the government asserts that the defendants fail to articulate how

their individual rights were violated by IOS’s privilege waiver, that the defendants lack

standing to litigate whether IOS’s privilege waiver was coerced, and that in any event, the

evidence does not support the defendants’ contention that the government coerced IOS

into waiving certain privileges.

                 In her Decision and Order, Judge Gorence reviewed the chronology of events

leading to IOS’s waiver of privilege and the government’s corresponding decision to release

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          The parties presented their argum ents to Judge Gorence in various docum ents subm itted during
the course of ongoing privilege disputes. It appears that the relevant m aterials are found prim arily in Docs.
# 201, 214, 215, 218, and 248, and the exhibits attached thereto.

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IOS from indictment. She found that after multiple discussions and communications

between the U.S. Attorney’s Office and IOS’s management and counsel, IOS entered a

Cooperation Agreement through which it agreed to waive its attorney-client and work

product privileges for any and all coupon-related and case-related documents.               In

exchange, Judge Gorence further found that the government agreed to dismiss the

indictment against IOS.

              This court is troubled by several aspects of the defendants’ position. First,

it is not apparent how the rights of the individual defendants were violated by IOS’s

allegedly coerced waiver of certain company-owned privileges. The defendants contend

that the government’s coercion of IOS’s privilege waiver violated their individual

“constitutional rights to due process, effective assistance of counsel, and the right not to

be compelled to be witnesses against themselves.” (Doc. # 248 at 7.) However, the

defendants are (and have been for some time) vigorously pursuing individual and joint

defense attorney-client and work product privilege claims. On this point, they submit that

IOS’s waiver has “forced [them] into the position of having to assert and litigate the validity

of their individual and joint defense privilege claims.” But this, while “a time consuming,

expensive, and arduous task,” does not necessarily reveal a constitutional violation.

Moreover, it is not clear how the coercion of IOS into waiving its privileges violates the

defendants’ Sixth Amendment right to counsel as interpreted by the Supreme Court, and

the defendants fail to develop this argument.

              Nonetheless, the defendants point to United States v. Stein, 541 F.3d 130

(2d Cir. 2008), as support despite Judge Gorence’s thorough examination of Stein in

reaching her decision. Like Judge Gorence, this court is hard pressed to draw the parallels

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between this case and Stein, as pushed by the defendants.             IOS and KPMG, the

corporation in Stein, were in dire straights and seeking to avoid indictment. However, the

holding in Stein—that the defendants were deprived of their Sixth Amendment

rights—stemmed from certain material findings: (1) KPMG would have paid the legal fees

and expenses of individual defendants who were its partners and employees, but for the

Thompson Memorandum and the coercive actions of the U.S. Attorney's office, 541 F.3d

at 146; (2) KPMG's decision to cut off all payments of legal fees and expenses to any

employee who was indicted, and to condition payment of legal fees upon cooperation with

the government, “was the direct consequence” of pressure applied by the U.S. Attorney's

office and thus constituted state action, id. at 146-48; and (3) the government's interference

with KPMG's commitment to pay the defendants' legal fees and costs lacked justification,

id. at 156. Consequently, several defendants were found to have been denied the ability

to retain counsel of their choice, and all defendants were hindered in preparing their

defense. Id. at 152, 157.

              Here, the defendants appear to believe that so long as they can show that

IOS was pressed by the government into entering a Cooperation Agreement, their

individual constitutional rights were violated in some fashion.         Nonetheless, while

expressing reservations about the standing of defendants Thomas Balsiger and James

Curry, Judge Gorence proceeded to the merits of the defendants’ claim. Judge Gorence’s

analysis of the facts is the focus of the defendants’ objections before this court, as well as

the government’s response to the objections.

              First, the defendants submit that Judge Gorence placed undue weight on

evidence that none of the government’s written communications with IOS referred to the

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Thompson Memorandum specifically. They contend that the August 28, 2005, “target

letter” from the government refers to the Thompson Memorandum implicitly by noting that

the Department of Justice “solicits IOS’s cooperation in uncovering all the facts about [the

fraud ultimately charged in the indictment] and in accordance with standard DOJ policy

concerning such matters.” (See Obj. 13; Decision and Order 3). However, even assuming

the defendants are correct that “standard DOJ policy” includes the Thompson

Memorandum, this does not establish that Judge Gorence’s findings were clearly

erroneous, contrary to law, or that these defendants have suffered a constitutional violation.

In fact, Judge Gorence specifically addressed this point, concluding that “[a]lthough the

government did reference in one of its letters ‘standard DOJ policy’ regarding cooperation

credit, there is no evidence that this was intended as an ultimatum to IOS to either waive

its privileges or face indictment.” (Decision and Order 13.3)

                Next, the defendants contend that Judge Gorence erred by “entirely

discount[ing]” the government’s letter of November 28, 2006, as “limited in scope and

directed only towards a specific set of documents from a specific law firm.” (Obj. 14;

Decision and Order 14.) As noted by Judge Gorence, the government’s November 28,

2006, letter to IOS seeks voluntary disclosure of documents related to any legal advice IOS

may have received regarding certain billing practices at the heart of the government’s

investigation. According to the letter, one of the individual defendants stated that he

believed the practices to be legal based on the advice of counsel. Absent voluntary




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          Conveniently, the defendants om it this portion of Judge Gorence’s Decision and Order in fram ing
their argum ent on this point. (See Obj. 13.)

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disclosure, the government states in the letter that it will attempt to subpoena any such

records from the Scott Hulse law firm. (Decision and Order 3.)

              The defendants contend that any legal advice provided by the Scott Hulse

attorneys to IOS with regard to billing practices “is HUGE in its scope and significance.”

(Obj. 14.) But, aside from claiming that the letter “is a demand for waiver of attorney-client

privilege protections under threat of indictment, plain and simple,” (Obj. 13-14), the

defendants fail to articulate how Judge Gorence’s analysis is erroneous. Indeed, the

language of the letter identifies the facts underlying the request (IOS may have been

advised that the billing practices at issue were legal), and the scope of the request (records

of the Scott Hulse firm related to such advice).

              Next, the defendants challenge Judge Gorence’s review of the April 11, 2007,

IOS board minutes. They maintain that “the April 11, 2007, board meeting minutes . . .

prove that IOS and defendant Balsiger consulted the McNulty Memorandum when

attempting to get IOS released from the indictment,” and that it was erroneous for Judge

Gorence to discount this evidence by noting that nothing indicates what portions of the

memorandum were read. (Obj. 14.) According to the defendants, it would be “ludicrous”

to assume that Balsiger was consulting anything other than the “definition of cooperation”

in the McNulty Memorandum. (Id.)

              However, the defendants misstate the record and ignore key aspects of

Judge Gorence’s order addressing this point:


              even if defendant Balsiger had read that portion of the
              [McNulty] memorandum [related to waiver of attorney-client
              and work product privileges], this still would be insufficient to
              prove that the government coerced IOS’s privilege waiver by

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                reinforcing any threat contained in the McNulty Memorandum,
                just as the prosecutors in Stein reinforced threats contained in
                the Thompson Memorandum. A board member’s independent
                decision to consider the McNulty Memorandum, without more,
                cannot establish government coercion.

(Decision and Order 14-15.) Moreover, the board minutes do not mention the “the McNulty

Memorandum.”

                The only support for the defendants’ contention that IOS and defendant

Balsiger consider the McNulty Memorandum seems to be an internal IOS email dated June

7, 2007, noting that the April 11, 2007, board minutes should be updated to reflect, among

other things, that Balsiger “read from the McNulty memo.” Assuming the validity of the

email, it appears that the minutes were never updated. (See Decision and Order 4; Doc.

# 248 Ex. 16.4) In any event, given that the defendants’ objection relies on a misreading

of the Decision and Order, Judge Gorence’s analysis requires no further discussion on this

point.

                Fourth, the defendants contend that Judge Gorence “discounts the April 27,

2007, board minutes, which state that ‘the government has requested the Company agree

to waive the attorney client privilege.’” (Obj. 15.) They offer that the “board minutes are

direct evidence that the government was seeking IOS’s waiver of attorney-client and work

product protections.” (Id.)

                Again, the defendants misstate the record. Apparently, the revised board

minutes indicate only that “the government would look favorably on the company’s waiving

of attorney client privilege with respect to requested information.”                      Judge Gorence


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          Judge Gorence notes that the em ail is “riddled with hearsay problem s”; nonetheless, she considered
the m aterials subm itted. (Decision and Order 14 n.1.)

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concluded that this portion of the board minutes concerned the government’s April 25,

2007, letter, which reaffirmed its earlier request for cooperation in uncovering evidence of

the alleged coupon fraud. While the defendants “disagree” with this conclusion, (Obj. 15),

they decline to proffer more. Hence, there are no grounds for upsetting Judge Gorence’s

findings regarding the April 27, 2007, board minutes.

              Fifth, the defendants attack Judge Gorence’s conclusion that “it was actually

IOS’s idea to offer a waiver of privileges in return for dismissal from the indictment.” (Obj.

15; Decision and Order 15.) Accordingly, the defendants argue that an email between

Attorney James Richmond and Greg Rayburn “proves that cooperation was defined by the

government.” (Obj. 15.) In rejecting this argument, Judge Gorence observed that an email

from Rayburn to Attorney Richmond dated April 26, 2007, states “the [IOS] Board is

prepared to propose waiving privilege in order to achieve a settlement of some sort for IOS

LLC.” (Decision and Order 15; Doc. # 215 Ex. U.) Moreover, the email relied on by the

defendants for this point indicates only that Attorney Richmond believed IOS needed to

reach a pretrial diversion agreement with the government, and that possible conditions

“could include the following: . . . cooperation, as defined by the government, which would

likely include a waiver of attorney-client privilege.” (Doc. # 215 Ex. T.) Review of these

emails does not demonstrate that Judge Gorence’s conclusion was in some way

erroneous.

              Next, the defendants object to Judge Gorence’s determination that

“defendants Balsiger and Currey have offered no evidence to contradict the government’s

assertion in its May 4, 2007, letter that on May 3, 2007, ‘IOS offered complete cooperation,

including waiver of all attorney-client privilege issues, in exchange for dismissal of the

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current indictment against IOS without prejudice.’” (Obj. 15; Decision and Order 16.) The

defendants assert that this conclusion “is clearly erroneous as it ignores the entire

sequence of events leading up to the May 3, 2007, ‘offer’ and the well recognized effect

of the Thompson Memorandum.” (Obj. 15-16.)

              This court has reviewed the Decision and Order and cannot find that Judge

Gorence “ignored the entire sequence of events.” Indeed, Judge Gorence discussed the

record in this case and the events leading to the Cooperation Agreement thoroughly.

Moreover, IOS was desirous to avoid indictment, and the record reflects that IOS was

prepared to waive privilege to achieve settlement with the government.

              Finally, the defendants contend that Judge Gorence erred by not adopting

the rationale of Regents of the University of California v. Superior Court of San Diego

County, 81 Cal. Rptr. 3d 186 (Ct. App. 2008). In her Decision and Order, Judge Gorence

discussed Regents, was not persuaded by its nonbinding rationale, and found that its facts

were clearly distinguishable from the evidence before her in this case. This court agrees.

Most importantly, the defendants in Regents were asserting their own privilege claims, and

the court did not invoke a constitutional analysis applicable to the instant case. Therefore,

              IT IS ORDERED that defendants Balsiger’s and Currey’s objections to the

magistrate judge’s Decision and Order of June 5, 2010, (Doc. # 411) is overruled.

              Dated at Milwaukee, Wisconsin, this 16th day of August, 2010.

                                                         BY THE COURT

                                                         /s/ C. N. Clevert, Jr.
                                                         C. N. CLEVERT, JR.
                                                         CHIEF U. S. DISTRICT JUDGE



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